          Case 1:18-cv-01170-AJN Document 108 Filed 11/02/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
Jose M. Quinones,
                                    Plaintiff,                           18 CIVIL 1170 (AJN)

                 -against-                                                  JUDGMENT

Captain Adam Rollison, Shield No. 192, Correction
Officer Eric Wilson, Shield No. 11616, Correction
Officer Kenny Rochez, Shield No. 5196, Correction
Officer Sammy Fernandez, Shield No. 5335, and
Captain Carlos Blackwood,
                                    Defendants.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Opinion and Order dated November 1, 2020, Defendants' motion for

summary judgment is GRANTED; accordingly, the case is closed.


Dated: New York, New York
       November 2, 2020



                                                                          RUBY J. KRAJICK
                                                                      _________________________
                                                                             Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                             Deputy Clerk
